
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit

                                 ____________________


        No. 97-1477

                         THOMAS R.W., BY AND THROUGH HIS NEXT
                           FRIENDS PAMELA R. AND EDWARD W.,

                               Plaintiffs, Appellants,

                                          v.

                    MASSACHUSETTS DEPARTMENT OF EDUCATION, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Michael A. Ponsor, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                 Stahl, Circuit Judge,
                                        _____________

                     Campbell and Bownes, Senior Circuit Judges.
                                          _____________________

                                 ____________________

            Stewart T. Graham, Jr. with whom Graham &amp; Graham was on brief for
            ______________________           _______________
        appellants.
            Judy Zeprun Kalman, Assistant Attorney General, with whom Scott
            __________________                                        _____
        Harshbarger, Attorney General, was on brief for appellee Massachusetts
        ___________
        Department of Education, Peter L. Smith, with whom Paroshinsky Law
                                 ______________            _______________
        Offices was on brief for appellee Mohawk Trail Regional District.
        _______

                                 ____________________

                                  November 17, 1997
                                 ____________________





















                      BOWNES,  Senior Circuit  Judge.    This appeal  was
                      BOWNES,  Senior Circuit  Judge.
                               _____________________

            brought under the Individuals with Disabilities Education Act

            (IDEA),  20 U.S.C.     1400  et seq.  (1996)  to resolve  the
                                         _______

            question of whether a disabled student in a private school is

            entitled  to  the on-site  services  of  a  one to  one  aide

            provided by the  public school system.  Because  we find that

            appellant's claim for  injunctive relief became moot  when he

            graduated, we now vacate  the judgment of the district  court

            and dismiss the appeal without reaching the merits.

                                     BACKGROUND 
                                     BACKGROUND 

                      Appellant Thomas R.W. (Thomas) is a  fourteen-year-

            old, special education student who has ataxia telangiectasia,

            a congenital, progressive  neurological disorder that results

            in  loss of mobility  control.  As a  student at the private,

            non-sectarian  Greenfield Center  School since  kindergarten,

            Thomas  had  received   physical,  occupational,  and  speech

            therapy services  as part  of his  individual education  plan

            (IEP).   Appellees Massachusetts Department  of Education and

            Mohawk  Trail Regional  School District, the  local education

            agency  (collectively  "LEA"),  provided  these  services  to

            Thomas at the private Greenfield School.

                      Because  of  his   ongoing  physical  difficulties,

            Thomas came to require the full-time help of an instructional

            aide to  assist him in  the classroom.  Although  his parents

            and the LEA both agreed with the necessity  of an aide, their



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            dispute centered on whether the LEA would fund an aide at the

            private school.   The  parents wanted the  LEA to  provide an

            aide  for Thomas  at the private  Greenfield School;  the LEA

            offered to pay for  an aide only at the  local public school,

            Colrain.   Rejecting the IEP that  called for an aide  at the

            public  school,  Thomas's   parents  (with  assistance   from

            Greenfield) assumed the cost of  an aide for on-site  special

            education  services   at  the  private  school,   and  sought

            injunctive relief against the LEA  in an appeal to the Bureau

            of Special Education Appeals (BSEA).

                      At  the hearing before the BSEA, Thomas argued that

            the LEA was not only permitted to fund an aide at the private

            school, but that  the IDEA required such  funding for on-site

            services,  relying  on  Zobrest v.  Catalina  Foothills  Sch.
                                    _______     _________________________

            Dist.,  509  U.S.   1  (1993)  (providing  a   sign  language
            _____

            interpreter at parochial  school under IDEA does  not violate

            establishment clause).  The LEA maintained that its statutory

            obligations  under the IDEA were fulfilled by offering Thomas

            a  "genuine  opportunity   for  equitable  participation"  in

            special education  services available  at the public  school.

            The BSEA hearing  officer ruled that the LEA  was not legally

            obligated  to fund  an  aide at  the  private school  because

            Thomas's  IEP, which  made  an aide  available at  the public

            school, provided  for  a free  appropriate  public  education





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            (FAPE), thereby satisfying the LEA's responsibility under the

            IDEA.

                      Thomas  sought review of  the BSEA decision  in the

            district court (Neiman, U.S.M.J. presiding), which found that

            Thomas's   parents   "ha[d]  not   borne   their  burden   of

            demonstrating  the central  element  of  their  case  --  the

            inappropriateness  of the  IEP."   The  district court  found

            that, to establish  a claim under the IDEA,  a plaintiff must

            first   make   a   threshold  showing   that   the   IEP  was

            inappropriate.   An  IEP is  inappropriate  if it  denies the

            student a FAPE.   See School Comm. of Burlington v.  Dep't of
                              ___ __________________________     ________

            Educ., 471 U.S. 359, 374  (1985) ("If a handicapped child has
            _____

            available a free appropriate public education and the parents

            choose to  place the child  in a private school  or facility,

            the  public  agency is  not required  .  . .  to pay  for the

            child's  education at the  private school or  facility."); 34

            C.F.R.   300.403  (1984).  In fact, the  BSEA hearing officer

            had determined that  neither the appropriateness of  the IEP,

            nor the ability  and willingness of the LEA  to implement it,

            was  in dispute.   Because  Thomas failed  to establish  this

            essential  element   of  his  claim  --  that   his  IEP  was

            inappropriate  -- the  magistrate judge  recommended granting

            defendant LEA's motion for summary judgment.

                      Upon  de novo review,  the district  court (Ponsor,

            J.),  adopted the  magistrate's recommendation,  holding that



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            Thomas had failed to show as a matter of law that his IEP was

            inadequate to provide  him with a FAPE.   In entering summary

            judgment for the  LEA, the district court  prudently declined

            to address the constitutional issues regarding Zobrest raised
                                                           _______

            in dicta by the magistrate.  Thomas filed this appeal.   

                                  STANDARD OF REVIEW
                                  STANDARD OF REVIEW

                      We  review  a  district court's  grant  of  summary

            judgment de  novo, affirming only where there are no disputed

            issues of material  fact and the moving party  is entitled to

            judgment as a matter of law.  Fed. R. Civ. P.  56(c); Celotex
                                                                  _______

            Corp. v. Catrett, 477 U.S. 317, 322-23 (1986).   
            _____    _______

                                      DISCUSSION
                                      DISCUSSION

                      Article  III,      2  of  the  Constitution  grants

            jurisdiction  to federal courts to adjudicate only live cases

            or controversies.  U.S. Const., art. III,    2, cl. 1.  For a

            case to be justiciable, "an actual controversy  must exist at

            all stages of appellate . .  . review, and not simply at  the

            date the  action is initiated."   Roe v. Wade,  410 U.S. 113,
                                              ___    ____

            125 (1973).   A case becomes moot "when  the issues presented

            are no longer 'live' or the parties lack a legally cognizable

            interest in  the outcome,  or alternatively,  when the  party

            invoking  federal court jurisdiction no longer has a personal

            stake in the  outcome of the controversy."   Boston and Maine
                                                         ________________

            Corp. v. Brotherhood of Maintenance of Way Employees, 94 F.3d
            _____    ___________________________________________

            15, 20 (1st Cir. 1996) (internal citations omitted).  "A case



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            is moot,  and hence not  justiciable, if the passage  of time

            has caused it completely to  lose its character as a present,

            live controversy of the kind that must exist  if the court is

            to  avoid advisory opinions on abstract propositions of law."

            Laurence H. Tribe, American Constitutional Law   3-11,  at 83

            (2d ed. 1988) (internal quotations omitted).  

                      Thomas's  graduation  from the  private  Greenfield

            School  last spring, and matriculation into the public Mohawk

            Trail Regional High  School this fall,  mooted the issue  for

            which  he sought  relief.   Since  his graduation,  Thomas no

            longer  meets the  live case  or  controversy requirement  of

            Article  III,     2.   In  the  absence  of  a  live case  or

            controversy,  this  case  is  moot  and  therefore,  we  lack

            jurisdiction to rule on the merits of appellant's claim.     

                      The  rationale   for  the   mootness  doctrine   is

            predicated on  judicial  economy --  saving  the use  of  the

            court's scarce resources for the resolution of real disputes.

            To  avoid the  relitigation of  an  otherwise moot  question,

            however,  the mootness doctrine countenances an exception for

            issues "capable of repetition, yet evading review."  Roe, 410
                                                                 ___

            U.S. at  125.   To preserve a  case from mootness  under this

            exception,  two requirements must be met: "(1) the challenged

            action was  in its duration  too short to be  fully litigated

            prior to  its cessation  or expiration, and  (2) there  was a

            reasonable expectation that the same complaining party  would



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            be subjected to the same action again."  Pallazola v. Rucker,
                                                     _________    ______

            797 F.2d  1116, 1129  (1st Cir.  1986) (quoting  Weinstein v.
                                                             _________

            Bradford, 423 U.S.  147, 149 (1975)).   The possibility  that
            ________

            other parties may subsequently bring a similar claim does not

            save a case  from mootness.  Lane v. Williams,  455 U.S. 624,
                                         ____    ________

            634 (1982).    

                      Though  IEP claims  similar to  Thomas's have  been

            found to  fit the "capable of repetition, yet evading review"

            exception, see Honig v. Doe, 484 U.S. 305, 318 (1988), Thomas
                       ___ _____    ___

            has  not demonstrated a  "sufficient likelihood that  he will

            again be wronged  in a similar way."  Id. at 323 (quoting Los
                                                  ___                 ___

            Angeles v. Lyons, 461  U.S. 95, 111  (1983)).  In Honig,  the
            _______    _____                                  _____

            Court  retained  jurisdiction  where there  was  a reasonable

            likelihood  that   respondents   would   again   suffer   the

            deprivation of  IDEA-mandated rights  that gave  rise to  the

            suit.    There,  given  the  erratic  nature  of  plaintiff's

            disability,  it was reasonably  expected that plaintiff would

            again be  subjected to a   violation of the  IDEA for conduct

            related to his disability.   Id. at 319-20.  Thomas, however,
                                         ___

            has  not adduced  any evidence  to conclude  that there  is a

            reasonable  expectation  that   his  situation  will   recur.

            Because  Thomas cannot reasonably be expected to re-enroll at

            the Greenfield  School, nor has  he declared an  intention to

            transfer to  a private high  school, this case does  not fall

            within an exception to the mootness doctrine. 



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                      Although  appellant concedes  that "the  injunctive

            relief  originally sought . . . is  now moot," he argues that

            his claim for  reimbursement preserves the case.   If pled in

            the  alternative or  otherwise evident  from  the record,  "a

            claim for damages  will keep a case from  becoming moot where

            equitable  relief  no  longer  forms  the  basis  of  a  live

            controversy."  Tribe, supra at 84.  A review of the record on
                                  _____

            appeal,   however,  demonstrates   that   Thomas  failed   to

            articulate a claim for  damages in the district  court, where

            he sought only injunctive and declaratory relief.  

                      Appellant's  scant two  paragraph argument  seeking

            reimbursement  -- first  raised in his  reply brief  -- falls

            short of the requisite  timeliness and formulation  necessary

            to preserve  a claim for  damages.  Arguments raised  for the

            first time in a reply brief filed in this court come too late

            to be preserved on appeal.   Because "an appellee is entitled

            to rely on the content of appellant's brief for  the scope of

            the  issues  appealed,  an[]  appellant  generally  may   not

            preserve a claim  merely by referring to it in  a reply brief

            or at oral argument."   Pignons S.A. de Mecanique v. Polaroid
                                    _________________________    ________

            Corp., 701 F.2d  1, 3 (1st Cir. 1983).  "[I]ssues adverted to
            _____

            in  a perfunctory  manner, unaccompanied  by  some effort  at

            developed argumentation, are deemed waived . . . . It is  not

            enough  merely to  mention a  possible argument  in  the most

            skeletal  way, leaving the  court to .  . . put  flesh on its



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            bones."  United  States v. Zannino, 895 F.2d  1, 17 (1st Cir.
                     ______________    _______

            1990).  

                      Nor  does  the  general  prayer  for "such  further

            relief as  this court  deems just and  proper,"   Complaint  

            35e, operate  to preserve a  request for damages in  order to

            avoid  mootness where  there is  no specific  request  and no

            evidence  to sustain a  claim for reimbursement.   "[A] claim

            for  nominal  damages,   extracted  late  in  the   day  from

            [plaintiff's] general prayer  for relief and asserted  solely

            to   avoid   otherwise   certain  mootness,   b[ears]   close

            inspection."   Arizonans for Official English v. Arizona, 117
                           ______________________________    _______

            S. Ct.  1055, 1070 (1997).   In Arizonans, the  Supreme Court
                                            _________

            last term declined to revive  an otherwise moot case based on

            a claim for nominal damages wrested from a general prayer for

            relief.     On  close   inspection,  appellate   courts  "are

            especially reluctant in these circumstances to read a damages

            claim into the Complaint's boilerplate prayer for 'such other

            relief as the Court deems just and proper.'"  Fox v. Board of
                                                          ___    ________

            Trustees of State Univ. of N.Y.,  42 F.3d 135, 141-2 (2d Cir.
            _______________________________

            1994)  (rejecting claim for  damages based on  general prayer

            for  relief  proffered  to  save  a  case  from  mootness).  

            Thomas's  reimbursement  claim  was  too  little,  too  late.

            Consequently,  that  claim  is  deemed waived  and  therefore

            cannot supply  the  residual live  controversy  necessary  to

            preserve his entire case from being mooted.     



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                                      CONCLUSION
                                      CONCLUSION

                      "As a  general rule,  when a  case becomes  moot on

            appeal  . .  . we  vacate the  district court's  decision and

            remand  with a  direction to  dismiss."   Newspaper Guild  of
                                                      ___________________

            Salem v.  Ottaway Newspapers, 79  F.3d 1273,  1285 n.15  (1st
            _____     __________________

            Cir.  1996) (accord United  States v. Munsingwear,  Inc., 340
                         ______ ______________    __________________

            U.S. 36, 39 (1950)).   We do not resolve the  question raised

            by  the  merits  of this  appeal:  whether  special education

            services under the  IDEA must be  offered to a  student at  a

            private school by the LEA where  the LEA has proposed and  is

            capable   of  implementing  an  appropriate  IEP.    We  lack

            jurisdiction to decide this question.  The judgment below  is

            vacated, and the  case is remanded with  direction to dismiss
            vacated                   remanded                    dismiss
            _______                   ________                    _______

            the complaint as moot. 

























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